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DANIEL M. GALPERN (OR Bar 061950)                San Francisco Airport Office Center
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Attorneys for Plaintiffs




                                UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                        EUGENE DIVISION



  KELSEY CASCADIA ROSE JULIANA;                   Case No.: 6:15-cv-01517-TC
  XIUHTEZCATL TONATIUH M., through
  his Guardian Tamara Roske-Martinez; et al.      PLAINTIFFS’ NOTICE OF
                  Plaintiffs,                     DEPOSITION OF
                                                  REX TILLERSON
  v.

  The UNITED STATES OF AMERICA;
  BARACK OBAMA, in his official capacity as
  President of the United States; et al.,

                  Federal Defendants.




  PLAINTIFFS’ NOTICE OF DEPOSITION OF REX TILLERSON


                                                                                  Exhibit 1
                                                                               Page 1 of 15
TO ALL PARTIES AND THEIR ATTORNEY OF RECORD:
       PLEASE TAKE NOTICE that, pursuant to Rules 30 and 45 of the Federal Rules
of Civil Procedure, Plaintiffs Kelsey Juliana, et al., will take the deposition of Rex
Tillerson on January 19, 2017 at 10:00 a.m. at the Law Offices of Sidley Austin LLP,
2021 McKinney Avenue, Suite 2000, Dallas, TX 75201. If the deposition is not
completed on January 19, 2017, it will be continued from day to day, excluding Sundays
and holidays, until completed.
       PLEASE TAKE FURTHER NOTICE that the deposition will be taken before a

notary public or other person authorized to administer oaths under applicable law, and

will be conducted pursuant to Federal Rule of Civil Procedure 30. Pursuant to Rule

30(b)(3) of the Federal Rules of Civil Procedure, Plaintiffs reserve the right to record the

deposition testimony by videotape and instant visual display. Plaintiffs reserve the right

to use the videotape deposition at the time of trial.
       YOU ARE FURTHER NOTIFIED THAT the deponent is a representative and a
board member of one or more parties to this action. So far as is known to Plaintiffs, the
deponent’s address is as follows:

Rex Tillerson
ExxonMobil
5959 Las Colinas Boulevard
Irving, Texas 75039
The deponent is directed to produce and permit inspection and copying of the documents
and/ or objects specified in Attachment A to this notice at the time of deposition.
       A list of all parties or attorneys for parties on whom this Notice of Deposition is
being served is shown on the accompanying Proof of Service.


Dated: December 28, 2016               s/ Philip L. Gregory
                                       PHILIP L. GREGORY (pro hac vice)  
                                       COTCHETT, PITRE & McCARTHY, LLP
                                       Attorneys for Plaintiffs

PLAINTIFFS’ NOTICE OF DEPOSITION OF REX TILLERSON

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                                                                                            Exhibit 1
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                                     ATTACHMENT A

I.      DEFINITIONS

        A.      As used herein, the term “DOCUMENT” means any kind of written,
graphic or recorded matter, however produced or reproduced, of any kind or description,
whether sent, received or neither, including drafts, originals, non-identical copies and
information stored magnetically, electronically, photographically or otherwise, and
including but not limited to, studies, papers, books, accounts, letters, diagrams, pictures,
drawings, photographs, correspondence, telegrams, cables, text messages, emails,
memoranda, notes, notations, work papers, intra-office and inter-office communications,
communications to, between and among employees, transcripts, minutes, orders, reports,
recordings or other documentation of telephone or other conversations, interviews,
committee meetings, departmental meetings, company meetings or other meetings,
affidavits, slides, statements, summaries, opinions, indices, analyses, publications,
questionnaires, answers to questionnaires, statistical records, ledgers, journals, lists, logs,
tabulations, charts, graphs, maps, surveys, sound recordings, data sheets, computer
printouts, tapes, discs, microfilm, all other records kept by YOU, and thing similar to any
of the foregoing, regardless of the title, author or origin.
        B.      As used herein, the phrase “REFERS, RELATES, REGARDS, OR
PERTAINS TO” means containing, alluding to, responding to, commenting upon,
discussing, showing, disclosing, explaining, mentioning, analyzing, constituting,
comprising, evidencing, setting forth, summarizing or characterizing, either directly or
indirectly in whole or in part.
        C.      As used herein, the term “AMERICAN PETROLEUM INSTITUTE” shall
refer to defendant American Petroleum Institute, and to all of its employees, agents,
officers, directors, representatives, consultants, affiliates, members, accountants, and
attorneys, including any PERSON who has served in any such capacity at any time.
PLAINTIFFS’ NOTICE OF DEPOSITION OF REX TILLERSON

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                                                                                               Exhibit 1
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       D.      As used herein, the term “NATIONAL ASSOCIATION OF
MANUFACTURERS” shall refer to defendant National Association of Manufacturers,
and to all of its employees, agents, officers, directors, representatives, consultants,
affiliates, members, accountants, and attorneys, including any PERSON who has served
in any such capacity at any time.
       E.      As used herein, the term “AMERICAN FUEL & PETROCHEMICAL
MANUFACTURERS” shall refer to defendant American Fuel & Petrochemical
Manufacturers, and to all of its employees, agents, officers, directors, representatives,
consultants, affiliates, members, accountants, and attorneys, including any PERSON who
has served in any such capacity at any time.
       F.      As used herein, the term “EXXONMOBIL” shall refer to
EXXONMOBIL, and to all of its employees, agents, officers, directors, representatives,
consultants, affiliates, members, accountants, and attorneys, including any PERSON who
has served in any such capacity at any time.
       G.      As used herein, the term “INTERVENOR DEFENDANTS” shall refer to
defendants AMERICAN PETROLEUM INSTITUTE, NATIONAL ASSOCIATION OF
MANUFACTURERS, AMERICAN FUEL & PETROCHEMICAL
MANUFACTURERS, and their members.
       H.      As used herein, the term “COMMUNICATION(S)” means every manner
or method of disclosure, exchange of information, statement or discussion between or
among two or more PERSONS, including but not limited to, face-to-face and telephone
conversations, correspondence, memoranda, telegrams, telexes, email messages,
transcribed voice-mail messages, text messages, meetings, discussions, releases,
statements, reports, publications or any recordings or reproductions.
       I.      As used herein, the words “YOU” and “YOUR” shall mean or refer to
REX TILLERSON and all of his present or former agents, attorneys, consultants,
employees, representatives, and/or anyone acting or purporting to act on his behalf.

PLAINTIFFS’ NOTICE OF DEPOSITION OF REX TILLERSON

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                                                                                               Exhibit 1
                                                                                            Page 4 of 15
        J.      As used herein, the term “PERSON” means all individuals, entities, firms,
organizations, groups, committees, regulatory agencies, governmental entities, business
entities, corporations, partnerships, trusts and estates.
        K.      As used herein, the term “AGENCY” shall mean any federal, state,
regional or local governmental agency. The term shall include directors, employees,
consultants and/or representatives of said AGENCY.
        x.      As used herein, the term “CLIMATE CHANGE” shall mean any change
in the state of the climate lasting for an extended period of time. In other words, the term
“CLIMATE CHANGE” includes changes in surface and ocean temperature,
precipitation, or wind patterns, among other effects, that occur over several decades or
longer, attributed directly or indirectly to human activity. The term “CLIMATE
CHANGE” shall include ocean acidification, sea level rise, and other impacts resulting
from the increased concentration of greenhouse gases and carbon dioxide in the
atmosphere and oceans. “CLIMATE CHANGE” also has been called climatic changes,
global warming, global change, global heating, atmospheric pollution by carbon dioxide
or other greenhouse gases, and dilution of carbon 14 by fossil carbon.
II.     INSTRUCTIONS
        A.      Please produce and permit the inspection and copying of the
DOCUMENTS described below which are in YOUR possession, custody, or control, or
in the possession, custody, or control of YOUR attorneys, consultants, agents, or
representatives.
        B.      In producing the DOCUMENTS demanded, YOU shall segregate those
documents by each request set forth herein.
        C.      For any claim that a DOCUMENT YOU are required to produce in
response to any of these demands is privileged YOU will:
                1.      Identify its title and general subject matter;
                2.      State its date;

PLAINTIFFS’ NOTICE OF DEPOSITION OF REX TILLERSON

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                                                                                            Exhibit 1
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                 3.     Identify its author(s);
                 4.     Identify the PERSONS for whom it was prepared or to whom it
was sent;
                 5.     State the nature of the privilege claimed; and
                 6.     State in detail each and every fact upon which YOU base your
claim of privilege.
          D.     The words “and” and “or” shall be construed in the conjunctive or
disjunctive, whichever is most inclusive.
          E.     The singular form shall include the plural form and vice versa.
          F.     The present tense shall include the past tense and vice versa.
          G.     If any DOCUMENT cannot be produced in full, produce it to the extent
possible, indicating what information is being withheld and the reason such information
is being withheld.
          H.     If a DOCUMENT once existed, but has been lost, destroyed, no longer
exists, or is no longer in YOUR possession or control, identify each such DOCUMENT
and separately state the details concerning the loss or destruction of the DOCUMENT, or
the name and address of the current or last known custodian of any such document, if
known to you.
III.      DOCUMENT REQUESTS
       A. Each DOCUMENT that identifies YOUR position within the organizational
          structure of AMERICAN PETROLEUM INSTITUTE.
       B. Each DOCUMENT that identifies YOUR position within the organizational
          structure of NATIONAL ASSOCIATION OF MANUFACTURERS.
       C. Each DOCUMENT that identifies YOUR position within the organizational
          structure of EXXONMOBIL.
       D. Each DOCUMENT that REFERS, RELATES, REGARDS, OR PERTAINS TO
          COMMUNICATIONS with any PERSON (other than COMMUNICATIONS

PLAINTIFFS’ NOTICE OF DEPOSITION OF REX TILLERSON

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                                                                                          Exhibit 1
                                                                                       Page 6 of 15
     with INTERVENOR DEFENDANTS’ attorneys and their representatives)
     regarding this litigation, including financial arrangements related to this litigation.
  E. Each DOCUMENT that REFERS, RELATES, REGARDS, OR PERTAINS TO
     participation by YOU on internal committees of the AMERICAN PETROLEUM
     INSTITUTE pertaining to CLIMATE CHANGE, including, but not limited to,
     any recommendations concerning any policy and initiative of the AMERICAN
     PETROLEUM INSTITUTE.
  F. Each DOCUMENT that REFERS, RELATES, REGARDS, OR PERTAINS TO
     participation by YOU on internal committees of the NATIONAL
     ASSOCIATION OF MANUFACTURERS pertaining to CLIMATE CHANGE,
     including, but not limited to, any recommendations concerning any policy and
     initiative of the NATIONAL ASSOCIATION OF MANUFACTURERS.
  G. Each DOCUMENT that REFERS, RELATES, REGARDS, OR PERTAINS TO
     participation by YOU in the Global Climate Coalition’s efforts pertaining to
     CLIMATE CHANGE from 1992-2001.
  H. Each DOCUMENT that REFERS, RELATES, REGARDS, OR PERTAINS TO
     the participation by Randy Randol on the Global Climate Science
     Communications Team (“GCSCT”), including, but not limited to,
     COMMUNICATIONS with the GCSCT and the development of the Global
     Climate Science Communications Plan.
  I. Each DOCUMENT that REFERS, RELATES, REGARDS, OR PERTAINS TO
     YOUR COMMUNICATIONS with any representative of EXXONMOBIL
     concerning CLIMATE CHANGE, including, but not limited to, observations or
     predictions of CLIMATE CHANGE and effects on permafrost, extreme or
     unusual weather conditions, sea ice conditions and the impact of those changes on
     oil drilling operations in Alaska North Slope, Gulf of Mexico, Canada, Greenland,
     Norway, and Russia.
PLAINTIFFS’ NOTICE OF DEPOSITION OF REX TILLERSON

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                                                                                           Exhibit 1
                                                                                        Page 7 of 15
  J. Each DOCUMENT that REFERS, RELATES, REGARDS, OR PERTAINS TO
     YOUR COMMUNICATIONS with any representative of the administration of
     former President George W. Bush pertaining to the Kyoto Protocol.
  K. Each DOCUMENT that REFERS, RELATES, REGARDS, OR PERTAINS TO
     YOUR COMMUNICATIONS with any representative of the administration of
     former President George W. Bush pertaining to the UN Framework Convention
     on Climate Change.
  L. Each DOCUMENT that REFERS, RELATES, REGARDS, OR PERTAINS TO
     YOUR COMMUNICATIONS with any representative of EXXONMOBIL and
     any representative of the AMERICAN PETROLEUM INSTITUTE regarding
     CLIMATE CHANGE.
  M. Each DOCUMENT that REFERS, RELATES, REGARDS, OR PERTAINS TO
     YOUR COMMUNICATIONS with any representative of EXXONMOBIL and
     any representative of the NATIONAL ASSOCIATION OF MANUFACTURERS
     regarding CLIMATE CHANGE.
  N. Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS with any representative of the Competitive Enterprise
     Institute pertaining to the 2003 Competitive Enterprise Institute lawsuit against
     the Bush Administration White House Office of Science and Technology Policy
     and the National Science and Technology Council to stop the release of the
     National Assessment of Climate Variability and Change (National Assessment)
     and EPA’s 2002 Climate Action Plan.
  O. Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS with any representative of the administration of former
     President George W. Bush pertaining to actual or potential appointees of the Bush
     Administration who would be, as part of their duties, be working on CLIMATE
     CHANGE.
PLAINTIFFS’ NOTICE OF DEPOSITION OF REX TILLERSON

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                                                                                        Exhibit 1
                                                                                     Page 8 of 15
  P. Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS with any representative of administration of former
     President George W. Bush pertaining to the removal of officials who had been
     working in the administration of former President William J. Clinton who, as part
     of their duties, were working on CLIMATE CHANGE.
  Q. Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS with any representative of the administration of former
     President George W. Bush pertaining to the United Nations Intergovernmental
     Panel on Climate Change.
  R. Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS with any representative of the administration of former
     President George W. Bush pertaining to the Bush Administration’s Climate
     Science Research Program.
  S. Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS with any representative of the administration of former
     President George W. Bush pertaining to the Bush Administration’s U.S Climate
     Change Research Initiative.
  T. Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS with any representative of the administration of former
     President George W. Bush pertaining to the Bush Administration’s Climate
     Change Science Program.
  U. Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS with any representative of the administration of former
     President George W. Bush pertaining to the Bush Administration’s Climate
     Change Technology Program.
  V. Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS with any representative of the administration of former
PLAINTIFFS’ NOTICE OF DEPOSITION OF REX TILLERSON

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                                                                                       Exhibit 1
                                                                                    Page 9 of 15
     President George W. Bush pertaining to the Bush Administration’s Committee on
     Climate Change Science and Technology Integration.
  W. Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS with any representative of the administration of former
     President George W. Bush pertaining to the Bush Administration’s Interagency
     Working Group on Climate Change Science and Technology.
  X. Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS with any representative of the administration of former
     President George W. Bush pertaining to the UN Framework Convention on
     Climate Change.
  Y. Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS with any representative of the administration of former
     President George W. Bush pertaining to the Kyoto Protocol.
  Z. Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS with any representative of the administration of former
     President George W. Bush pertaining to the Intergovernmental Panel on Climate
     Change.
  AA.       Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS with any representative of EXXONMOBIL regarding
     CLIMATE CHANGE, including, but not limited to, any COMMUNICATIONS
     to and from the following current and former representatives of EXXONMOBIL:
     1) Lee Raymond, CEO;
     2) Frank Sprow, Vice President, Safety, Health & Environment;
     3) Kenneth Cohen, VP, Public and Government Affairs;
     4) Arthur G. (Randy) Randol III, Ph.D, Public Affairs Manager;
     5) Walt Buchholtz, Public and Government Affairs Manager;
     6) Brian P. Flannery, Science, Strategy and Programs Manager in Environmental
PLAINTIFFS’ NOTICE OF DEPOSITION OF REX TILLERSON

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        Policy and Planning;
     7) David P. Bailey, Manager, Climate Policy;
     8) Mark D. Boudreaux, Senior Director, Federal Relations;
     9) Sherri Stuewer, VP Safety, Health & Environment;
     10) Jaime Spelling, VP Corporate Planning;
     11) David Kingston, VP Downstream Business Development and Portfolio
        Management;
     12) Elizabeth Beauvais, Advisor, Corporate Citizenship;
     13) Victoria Ceja, EXXONMOBIL Public Affairs, Corporate Citizenship and
        Community Investment Policy;
     14) Lynn A. Gelner; and
     15) Lauren Kerr.
  BB.       Each DOCUMENT that REFERS, RELATES OR PERTAINS TO the
     2006-2007 program on climate change and public affairs administered by Public
     Affairs Director Kenneth Cohen, including plans, communications, and notes
     from the Airlie House meeting, which took place on December 4-6, 2006, called
     “Opinion Leader Dialogue.”
  CC.       Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS regarding a carbon tax and/or fee, or other carbon pricing
     mechanisms.
  DD.       Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS regarding government policy on CLIMATE CHANGE,
     including internal analyses, lobbying reports and records, and plans.
  EE.Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS regarding the Waxman Markey 2009 American Clean
     Energy and Security Act of 2009, including, but not limited to, reports from
     lobbyists working with EXXONMOBIL.
PLAINTIFFS’ NOTICE OF DEPOSITION OF REX TILLERSON

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                                                                                        Exhibit 1
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  FF. Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS regarding the Waxman Markey 2009 American Clean
     Energy and Security Act of 2009, including, but not limited to, reports from
     representatives of AMERICAN PETROLEUM INSTITUTE.
  GG.       Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS regarding the Waxman Markey 2009 American Clean
     Energy and Security Act of 2009, including, but not limited to, reports from
     representatives of NATIONAL ASSOCIATION OF MANUFACTURERS.
  HH.       Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS regarding the McCain-Lieberman 2003 Climate
     Stewardship Act, including, but not limited to, reports from lobbyists working
     with EXXONMOBIL.
  II. Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS regarding the McCain-Lieberman 2003 Climate
     Stewardship Act, including, but not limited to, reports from representatives of
     AMERICAN PETROLEUM INSTITUTE.
  JJ. Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS regarding the McCain-Lieberman 2003 Climate
     Stewardship Act, including, but not limited to, reports from representatives of
     NATIONAL ASSOCIATION OF MANUFACTURERS.
  KK.       Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS regarding the 2005 Climate Stewardship and Innovation
     Act, including, but not limited to, reports from lobbyists working with
     EXXONMOBIL.
  LL. Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS regarding the 2005 Climate Stewardship and Innovation
     Act, including, but not limited to, reports from representatives of AMERICAN
PLAINTIFFS’ NOTICE OF DEPOSITION OF REX TILLERSON

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     PETROLEUM INSTITUTE.
  MM.       Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS regarding the 2005 Climate Stewardship and Innovation
     Act, and the, including, but not limited to, reports from representatives of
     NATIONAL ASSOCIATION OF MANUFACTURERS.
  NN.       Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS regarding the 2007 Climate Stewardship and Innovation
     Act, including, but not limited to, reports from lobbyists working with
     EXXONMOBIL.
  OO.       Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS regarding the 2007 Climate Stewardship and Innovation
     Act, including, but not limited to, reports from representatives of AMERICAN
     PETROLEUM INSTITUTE.
  PP. Each DOCUMENT that REFERS, RELATES OR PERTAINS TO YOUR
     COMMUNICATIONS regarding the 2007 Climate Stewardship and Innovation
     Act, including, but not limited to, reports from representatives of NATIONAL
     ASSOCIATION OF MANUFACTURERS.




PLAINTIFFS’ NOTICE OF DEPOSITION OF REX TILLERSON

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                                  PROOF OF SERVICE


       I am employed in San Mateo County where service of the document(s) referred to
below occurred. I am over the age of 18 and not a party to the within action. My business
address is Cotchett, Pitre & McCarthy, LLP, San Francisco Airport Center, 840 Malcolm
Road, Suite 200, Burlingame CA 94010. I am readily familiar with the firm ' s practices for
the service of documents. On this date, I served or caused to be served a true copy of the
following:
         PLAINTIFFS' NOTICE OF DEPOSITION OF REX TILLERSON

XXX BY E-MAIL: My e-mail address is palmasi@cpmlegal.com and service of this
document(s) occurred on the date shown below. This document is being served
electronically and the transmission was reported as complete and without error.

XXX BY MAIL:          I placed a true copy of the aforementioned document(s) in a sealed
envelope with postage fully paid. I am familiar with this firm's practice of collection and
processing of mail for delivery by the United States Postal Service on the next day in the
ordinary course of business.

                          [SEE ATTACHED SERVICE LISTI


       I declare under penalty of perjury, under the laws of the State of California, that the
foregoing is true and correct. Executed at Burlingame, California, on December 28, 2016.




                                                             POUNEH ALMASI




PROOF OF SERVICE OF PLAINTIFFS' NOTICE OF DEPOSITION OF REX
TILLERSON
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                                 SERVICE LIST

Sean C. Duffy                              Julia Olson
sean.c.duffy@usdoj.gov                     julia@ourchildrenstrust.org
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Sarah Himmelhoch                           Eugene, OR 97401
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Guillermo.Montero@usdoj .gov
U.S. Department of Justice
Environment & Natural Resources Division
Natural Resources Section
601 D Street NW
Washington, DC 20004

Quin Sorenson                              Daniel M. Galpem
qsorenson@sidley.com                       dan.gal_Qem@ gmai I.com
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Sidley Austin LLP                          Eugene, OR 97405
1501 K Street, NW
Washington, DC 20005




PROOF OF SERVICE OF PLAINTIFFS' NOTICE OF DEPOSITION OF REX
TILLERSON
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